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Ro INDEX #; 2:19-0V-14620-ES-SCM
Oo é_ :
S ly Date Filed: 07/92/2019

Client’s File Nea.:

UNITED STATES DISTRICT COURT DISTRICT OF NEW JERSEY

Ahomeys: Company: STEIN SAKS, PLLC PH: (2015 282-6500 e115
Adelrass: 285 PASSAIC STREET HACKENSACK, NJ 07601

 

 

 

 

 

 

 

 

ERIC STOBEZKI
¥E Pigintit
EQUEAX INFORMATION SERVICES LLC, ET AL
a . Defendant
STATE OF YL ne COUNTY OF EARS. BB AFFIDAVIT OF SERVICE
CALM EAL COLE KM He! being duly sworn deposes and says: ;
fee fith. M@OLG at 5:08 P4F

 

 

 

Deponent is not a parly herein, is over 18 years of age. On
at .820 BEAR TAVERN ROAD, WEST TRENTON NE OBB28
SUMMONS IN A CIVE. CASE . COMPLAINT DEMAND FOR JURY TRIAL

_—, deponent served the within

EXPERIAN INFORMATION SOLUTIONS, INC. C/O CORPORATIONTRUST =, 0 therein named.

COMPANY
By delivering a true copy of each to said recipient personally; deponent knew ine person served to be the person
described as said person therein.

Or,

 

#1 INDIVIDUAL

#2 CORRS ATION By delivering thereat a true copy of each to PRES Af FP AOR: PS OLS and that deponent knew
; a the person so served to be the PER Sel LL CABLE PE TE 7#E__of the corporation, and authorized to
he corporation. REG/STEL EO AGERT OF ee CS
#3 SUITABLE By delivering a true copy of each fo _. _.... @ person of suitable age and discretion.
AGE PERSON Said premises is recipient's [ ] actual place of business { | dwelling house (usual place of abode) within the staie.

to accept service on behalf of t

 

#4 AFFIXING By affixing a true copy of each to the door of said premises, which is recipient's: | actual place of business

TODCOR {| dwelling house (place of abode) within ihe state.

Senet
Deponent was unable, with due diligence to find recipient or @ person of suitable age and discretion, having called

 

  
 
  

 

 

thereaton the oo. __ day of _. ai
onthe _ _.. day of at
onihe _ _.. day of _. at
onthe uw .. day of at

 

 

#5 MAILCOPY On ee ., deponent completed service under the last two sections by depositing a copy of the
oy documenis listed above to the above address in a ist Class postpaid properly addressed envelope marked
~ “Personal and Confidential” in an official depository under the exclusive care and custody of the
United States Post Office In ihe State of .
Cand by Certified Mail # ”

 

 

igent atiempts, | have been unable to effect process upon the persan/entily

 

 
 

#6 NON-SRVC After due search, careful inquiry and dil
ra being served because of the following: { ] Unknown at Address i j Evading | ] Moved left no forwarding
{ ] Address does not exist [ j Other: 7
#7 DESCRIPTION A description of the Defendant, or other person served, of spoken to on behaif of the Defendant is as follows: _ ee
, Sex: eh. Color of skin: HACE Color of hair: Beier Age: BO. Height SS.
jew 209 wean {YO Other Features: CLASSES

 

#E WITEEES Subpoena Fee Tendered in the arnaunt of
io

the recipient was presently in rallitary service of the United States Government or of the State

#8 MILITARYSRVC Deponent asked person spoken to whether
es formed (hat recipient was not. Recipient wore ordinary chlian clothes and no military u

- of and was in

 

#10 OTHER
- fg oo if 7 f fe / ( §
cs

é f at
ce eet ne é

Ps =

 

‘Please Pant Name Below Signature
Lp EV LE Cen 6 EEF IFRE
Job # 514478

 
